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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI

 BRANDON LOVELESS, on behalf of himself
                                    §
 and others similarly situated,     §
                         Plaintiffs,§      Civil Action No.: 4:19-CV-2698
                                    §
      v.                            §
                                    §
 ECOTECH, LLC and MICHAEL           §
 AVRUSHENKO,                        §
                  Defendants.       §
                                    §
                                    §
                    JOINT STIPULATION OF DISMISSAL

       Plaintiff Brandon Loveless AND Defendants Ecotech, LLC and Michael Avrushenko,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby jointly stipulate that this action

is dismissed with prejudice, with all parties to bear their own costs and fees, except as specifically

agreed to by the Parties.

Dated: March 9, 2018

                                      Respectfully submitted,

 BAILEY COWAN HECKAMAN PLLC                        FORDHARRISON LLP

 /s/ Robert W. Cowan                               /s/ Karen E. Milner (w/consent)
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                              CERTIFICATE OF SERVICE
       I hereby certify that I have on March 9, 2020, served a true and correct copy of the
foregoing via the Court’s e-filing system upon the following:


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                                                 /s/ Robert W. Cowan
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